EXHIBIT A·
i~~R~~:   THOMSON REUTERS      THE RATES USED TO CALCULATE CLIENT/REFERENCE CHARGES HAVE BEEN DESIGNATED BY SUBSCRIBER OR ARE BASED ON RETAIL RATES.
                             SUBSCRIBER AGREES NOT TO DISSEMINATE THIS REPORT TO ANY THIRD PARTY OR TO REPRESENT THE CHARGES AS ACTUAL ONLINE CHARGES.


 ACCT# 1000333096                                                   CLIENT/REFERENCE DETAIL
 MURPHY HESSE TOOMEY & LEHANE LLP                                                                                    INVOICE # 830855492                      PAGE
 QUINCY, MA 02169-0904                                              NOV 01, 2014 - NOV 30, 2014                      POSTING # 6097848040                       7

                                                                                        DATABASE                        CONNECT/
       CLIENT/REFERENCE                                                                   TIME           TRANS       COMMUNICATION          DOC/LINES   CHARH~TfNL USO*




 -
 TOTAL                CHARGES                                                                     :OOS      12S                 :OOS              OS            198.00S



          SPECIAL PRICING INCLUDED CHARGES(!)
                   TRANSACTIONAL SEARCHES                                                                     I                                                  99.00
                   DOCUMENT D!SPLA YS                                                                        [2                                                   0.00
                   KEYCITE                                                                                    2                                                   0.00
          TOTAL SPECIAL PRICING INCLUDED CHARGES(!)                                               :001       15[                :001              01             99.001




 -
 TOTAL- CHARGES                                                                                   :OOS       ISS                :OOS              OS             99.00S



          SPECIAL PRICING INCLUDED CHARGES(()
                   TRANSACTIONAL SEARCHES                                                                     2                                                 198.00
                   DOCUMENT DISPLAYS                                                                          7                                                  49.00
          TOTAL SPECIAL PRICING INCLUDED CHARGES(!)                                               :001        9[                :001              01            247.001




 -
 TOTAL               CHARGES                                                                      :OOS        9S                :OOS              OS            247.00S



          SPECIAL PRICING INCLUDED CHARGES(!)
                   TRANSACTIONAL SEARCHES                                                                     2                                                 [98.00
                   DOCUMENT DlSPLA YS                                                                        IO                                                 196.00
                   KEYCITE                                                                                    I                                                   0.00
          TOTAL SPECIAL PRICING INCLUDED CHARGES(!)                                               :001       131                :001              01            394.001
 TOTAL- CHARGES                                                                                   :OOS       13S                :OOS               OS           394.00S


 LINC04.00035
          SPECIAL PRICING INCLUDED CHARGES([)
                   TRANSACTIONAL SEARCHES                                                                    10                                                 990.00
                   DOCUMENT DISPLAYS                                                                         29                                                   0.00
                   KEYCITE                                                                                       [                                                0.00
          TOTAL SPECIAL PRICING INCLUDED CHARGES(()                                               :001       401                :001               01           990.001




 -
 TOTAL LINC04.00035 CHARGES                                                                       :OOS       40S                :OOS               OS           990.00S



          SPECIAL PRICING INCLUDED CHARGES(!)
                   TRANSACTIONAL SEARCHES                                                                     4                                                 297.00
                   DOCUMENT DISPLAYS                                                                             2                                                 0.00



  *   INCLUDES APPLICABLE TAXES                                                                            !000333096                  z
                                                                                                                                                            1111          I
i~ism=   THOMSON REUTERS      THE RATES USED TO CALCULATE CLIENT/REFERENCE CHARGES HAVE BEEN DESIGNATED BY SUBSCRIBER OR ARE BASED ON RETAIL RATES.
                            SUBSCRIBER AGREES NOT TO D1SSEM£NATE THIS REPORT TO ANY THIRD PARTY OR TO REPRESENT THE CHARGES AS ACTUAL ONLINE CHARGES.


 ACCT# 1000333096                                                  CLIENT/REFERENCE DETAIL
 MURPHY HESSE TOOMEY & LEHANE LLP                                                                                  INVOICE # 831045441                       PAGE
 QUINCY, MA 02169-0904                                             DEC 01, 2014 - DEC 31, 2014                     POSTING # 6098522894                        6

                                                                                       DATABASE                      CONNECT/                             TOTAL
     CLIENT/REFERENCE                                                                    TIME           TRANS     COMMUNICATION           DOC/LINES   CHARGE IN USO*

         TOTAL SPECIAL PRICING INCLUDED CHARGES(!)                                               :001       41                :001              0(             148.00(




-
 TOTAL               CHARGES                                                                     :OOS       4S                :OOS              OS             148.00S



         SPECIAL PRICING INCLUDED CHARGES(!)
                  TRANSACTIONAL SEARCHES                                                                    4                                                  396.00
                  DOCUMENT DISPLAYS                                                                          I                                                   0.00
         TOTAL SPECIAL PRICING INCLUDED CHARGES(!)                                               :001       51                :001              01             396.001




-
 TOTAL -CHARGES                                                                                  :OOS       5S                :OOS              OS             396.00S



         SPECIAL PRICING INCLUDED CHARGES(!)
                  TRANSACTIONAL SEARCHES                                                                     I                                                  99.00
                  DOCUMENT DISPLAYS                                                                         13                                                 196.00
                  KEYCITE                                                                                   2                                                    0.00
         TOTAL SPECIAL PRICING INCLUDED CHARGES(!)                                               :001       161               :001              01             295.001




-
 TOTAL               CHARGES                                                                     :OOS       16S               :OOS              OS             295.00S



         SPECIAL PRICING INCLUDED CHARGES(!)
                  TRANSACTIONAL SEARCHES                                                                    II                                               1,089.00
                  DOCUMENT DISPLAYS                                                                         52                                                   0.00
                  KEYCITE                                                                                    I                                                   0.00
         TOTAL SPECIAL PRICING INCLUDED CHARGES(!)                                               :001       641               :001               01           1,089.001




-
 TOTAL               CHARGES                                                                     :OOS       64S               :OOS               OS           1,089.00S



         SPECIAL PRICING INCLUDED CHARGES(!)
                  TRANSACTIONAL SEARCHES                                                                     7                                                 495.00
                  DOCUMENT DISPLAYS                                                                         19                                                 147.00
                  KEYCITE                                                                                    2                                                     0.00
         TOTAL SPECIAL PRICING INCLUDED CHARGES(!)                                               :001       281               :001               01            642.001
 TOTAL              CHARGES                                                                      :OOS       28S               :OOS               OS            642.00S


 LINC04.00035
         SPECIAL PRICING INCLUDED CHARGES(!)
                  TRANSACTIONAL SEARCHES                                                                    17                                                1,584.00



 * INCLUDES APPLICABLE TAXES                                                                              1000333096                 z
                                                                                                                                                         I    11          I
 r·




~~~¢,i~!=   THOMSON REUTERS      THE RATES USED TO CALCULATE CLIENT/REFERENCE CHARGES HAVE BEEN DESIGNATED BY SUBSCRJBER OR ARE BASED ON RETAlL RATES.
                               SUBSCRIBER AGREES NOT TO DISSEMINATE THIS REPORT TO ANY THIRD PARTY OR TO REPRESENT THE CHARGES AS ACTUAL ONLINE CHARGES.


  ACCT# 1000333096                                                    CLIENT/REFERENCE DETAIL
  MURPHY HESSE TOOMEY & LEHANE LLP                                                                                    fNVOlCE # 831045441                     PAGE
  QUINCY, MA 02169--0904                                              DEC 01, 2014 - DEC 31. 2014                     POSTING # 6098522894                      6

                                                                                          DATABASE                      CONNECT/                             TOTAL
       CLIENT/REFERENCE                                                                     TIME           TRANS     COMMUNICATION           DOC/LINES   CHARGE IN USD*

            TOTAL SPECIAL PRICING INCLUDED CHARGES(!)                                               :001       41                :001              01            148.001




-
  TOTAL                 CHARGES                                                                     :OOS       4S                :OOS              OS            148.00S



            SPECIAL PRICING INCLUDED CHARGES{!)
                     TRANSACTIONAL SEARCHES                                                                    4                                                396.00
                     DOCUMENT DISPLAYS                                                                          I                                                  0.00
            TOTAL SPECIAL PRICING INCLUDED CHARGES{!)                                               :001       51                :001              01           396.001




-
  TOTAL                 CHARGES                                                                     :OOS       5S                :OOS              OS           396.00S



            SPECIAL PRICING INCLUDED CHARGES(!)
                     TRANSACTIONAL SEARCHES                                                                     I                                                 99.00
                     DOCUMENT DISPLAYS                                                                         13                                                196.00
                     KEYCITE                                                                                    2                                                  0.00
            TOTAL SPECIAL PRICING INCLUDED CHARGES(!)                                               :001       161               :001               01           295.001
  TOTAL                 CHARGES                                                                     :OOS       16S               :OOS               OS           295.00S



            SPECIAL PRICING INCLUDED CHARGES(!)
                     TRANSACTIONAL SEARCHES                                                                    II                                              1,089.00
                     DOCUMENT DISPLAYS                                                                         52                                                  0.00
                     KEYCITE                                                                                    I                                                  0.00
            TOTAL SPECIAL PRJCING INCLUDED CHARGES(!)                                               :001       641               :001               01         1,089.001




 -
  TOTAL                 CHARGES                                                                     :OOS       64S               :OOS               OS         1,089.00S



            SPECIAL PRJCING INCLUDED CHARGES{!)
                     TRANSACTIONAL SEARCHES                                                                     7                                                495.00
                     DOCUMENT DJSPLA YS                                                                        19                                                147.00
                     KEYCITE                                                                                    2                                                  0.00
            TOTAL SPECIAL PRICING lNCLUDED CHARGES{[)                                               :001       281               :001               01           642.001
  TOTAL                CHARGES                                                                      :OOS       28S               :OOS               OS           642.00S


  LINC04.00035
            SPECIAL PRICING INCLUDED CHARGES(!)
                     TRANSACTIONAL SEARCHES                                                                    17                                               1,584.00



  * INCLUDES APPLICABLE TAXES                                                                                1000333096                 z                   I II I
~iit,1:f~)   THOMSON REUTERS      THE RATES USED TO CALCULATE CUENT/REFERENCE CHARGES HAVE BEEN DESIGNATED BY SUBSCRIBER OR ARE BASED ON RETAIL RATES.
                                SUBSCRIBER AGREES NOT TO DISSEMINATE THIS REPORT TO ANY THIRD PARTY OR TO REPRESENT THE CHARGES AS ACTUAL ONLINE CHARGES.


  ACCT# 1000333096                                                     CLIENT/REFERENCE DETAIL
  MURPHY HESSE TOOMEY & LEHANE LLP                                                                                       INVOICE # 831594553                       PAGE
  QUINCY, MA 02169-0904                                                MAR 01, 2015 - MAR 31, 2015                       POSTING # 6100227559                        6




 -
                                                                                           DATABASE                         CONNECT/                            TOTAL
        CLIENT/REFERENCE                                                                     TIME           TRANS        COMMUNICATION          DOC/LINES   CHARGE IN USD*


             SPECIAL PRICING INCLUDED CHARGES(!)
                      TRANSACTIONAL SEARCHES                                                                    4                                                   396.00
                      DOCUMENT DISPLA VS                                                                        19                                                  441.00
             TOTAL SPECIAL PRICING INCLUDED CHARGES(!)                                               :001      231                  :001              01            837.001
  TOTAL                 CHARGES                                                                      :OOS      23S                  :OOS              OS            837.00S


  LINC04.00035
             SPECIAL PRICING INCLUDED CHARGES(!)
                      TRANSACTIONAL SEARCHES                                                                     I                                                   99.00
                      DOCUMENT DISPLA VS                                                                        3                                                     0.00
             TOTAL SPECIAL PRICING INCLUDED CHARGES(!)                                               :001       41                  :001              01             99.001
  TOTAL LINC04.00035 CHARGES                                                                         :OOS       4S                  :OOS              OS             99.00S



             SPECIAL PRICING INCLUDED CHARGES(!)
                      DOCUMENT DISPLA VS                                                                         1                                                    0.00
                      KEYCITE                                                                                    I                                                    0.00
             TOTAL SPECIAL PRICING INCLUDED CHARGES(!)                                               :001        21                 :001              01              0.001
  TOTAi                  CHARGES                                                                     :OOS        2S                 :OOS              OS              O.OOS



             SPECIAL PRICING INCLUDED CHARGES(!)
                      TRANSACTIONAL SEARCHES                                                                     8                                                   693.00
                      DOCUMENT DISPLA VS                                                                        35                                                   196.00
             TOTAL SPECIAL PRICING INCLUDED CHARGES{!)                                               :001       431                 :001               01            889.001
  TOTAL                  CHARGES                                                                     :OOS       43S                 :OOS               OS            889.00S



             SPECIAL PRICING INCLUDED CHARGES(!)
                      TRANSACTIONAL SEARCHES                                                                     4                                                   396.00
                      DOCUMENT DISPLAVS                                                                          9                                                       0.00
                      KEYCITE                                                                                        I                                                   0.00
             TOTAL SPECIAL PRICING INCLUDED CHARGES(!)                                               :001       141                 :001               01            396.001
  TOTAL                  CHARGES                                                                     :OOS       14S                 :OOS               OS            396.00S



                                                                                                                                                                          -

  * INCLUDES APPLICABLE TAXES                                                                                 1000333096                   z
                                                                                                                                                               I    11          I
4/18/2018                                                                       QuickView+ - Report
 Account:                           MURPHY HESSE TOOMEY & LEHANE LLP, QUINCY MA (1000333096)
 Date Range:                        February 01, 2016 - February 29, 2016
 Report Format:                     Summary-Account by Client by User by Day (Targeted)
 Products:                          Westlaw, WestlawNext
 Content Families:                  All Content Families
 Account by Client by User by Day         Database Time                  Docs/Lines   Connect Time      Standard Special Pricing
                                                          Transactions                                                             Tax Amount   Total Charge
                                                                                                          Charge         Charge



 Account: 1000333096
  Client LINC04.00035
   User Name EHRENS,DORIS RM
 (7520131)
   Day 02/04/2016
 Totals for Included                                                 3                                297.00 USD      29.76 USD      0.00 USD     29.76 USD
 Totals for Day 02/04/2016                                           3                                297.00 USD      29.76 USD      0.00 USD     29.76 USD
   Day 02/05/2016
 Totals for Included                                                 5                                297.00 USD      29.76 USD      0.00 USD     29.76 USD
 Totals for Day 02/05/2016                                           5                               · 297.00 USD     29.76 USD      0.00 USD     29.76 USD
   Day 02/08/2016
 Totals for Included                                                 7                                 99.00 USD       9.92 USD      0.00 USD      9.92 USD
 Totals for Day 02/08/2016                                           7                                 99.00 USD       9.92 USD      0.00 USD      9.92 USD
 Totals for User Name EHRENS,DORIS R M                             15                                 693.00 USD      69.45 USD                   69.45 USD
                                                                                                                                     0.00 USD
 (7520131)
 Totals for Client LINC04.00035                                    15                                 693.00 USD      69.45 USD      0.00 USD     69.45 USD
 Totals for Account: 1000333096                                    15                                 693.00 USD      69.45 USD      0.00 USD     69.45 USD
 Report Totals - Included                                          15                                 693.00 USD      69.45 USD      0.00 USD     69.45 USD
 Report Totals                                                     15                                 693.00 USD      69.45 USD      0.00 USD     69.45 USD




https://www.quickview.com/Reports/UsageReportPrintable.aspx                                                                                                    1 /1
4/18/2018                                                                       QuickView+ - Report

 Account:                           MURPHY HESSE TOOMEY & LEHANE LLP, QUINCY MA (1000333096)
 Date Range:                        April 01, 2016 - April 30, 2016
 Report Format:                     Summary-Account by Client by User by Day (Targeted)
 Products:                          Westlaw, WestlawNext
 Content Families:                  All Content Families
                                                                           Docs/Lines   Connect Time       Standard Special Pricing   Tax Amount   Total Charge
 Account by Client by User by Day           Database Time   Transactions
                                                                                                             Charge         Charge

                                                            ·-----~----- ~-·--- ------- -------· ------------
 Account: 1000333096
  Client LINC04.00035
  User Name EHRENS,DORIS RM (7520131)
   Day 04/07/2016
 Totals for Included                                                                                     198.00 USO      16.82 USO      0.00 USD     16.82 USO
 Totals for Day 04/07/2016                                                                               198.00 USO      16.82 USO      0.00 USD     16.82 USD
   Day 04/12/2016
 Totals for Included                                                  8                                 594.00 USD       50.46 USD      0.00 USD     50.46 USO
 Totals for Day 04/12/2016                                            8                                 594.00 USD       50.46 USD      0.00 USD     50.46 USD
   Day 04/13/2016
 Totals for Included                                                  9                                 396.00 USO       33.64 USO      0.00 USD     33.64 USD
 Totals for Day 04/13/2016                                            9                                 396.00 USO       33.64 USO      0.00 USD     33.64 USO
   Day 04/14/2016
 Totals for Included                                                  9                                 594.00 USD       50.46 USO      0.00 USD     50.46 USD
 Totals for Day 04/14/2016                                            9                                 594.00 USD       50.46 USD      0.00 USD     50.46 USD
    Day 04/15/2016
 Totals for Included                                                 13                                 396.00 USD       33.64 USD      0.00 USD     33.64 USO
 Totals for Day 04/15/2016                                           13                                 396.00 USD       33.64 USO      0.00 USD     33.64 USO
    Day 04/19/2016
 Totals for Included                                                  9                                  99.00 USO        8.41 USO      0.00 USD      8.41 USD
 Totals for Day 04/19/2016                                            9                                  99.00 USO        8.41 USO      0.00 USD      8.41 USD
   Day 04/21/2016
 Totals for Included                                                 14                                 495.00 USD       42.05 USD      0.00 USD     42.05 USO
 Totals for Day 04/21/2016                                           14                                 495.00 USD       42.05 USO      0.00 USD     42.05 USO
   Day 04/25/2016
 Totals for Included                                                                                      0.00 USO        0.00 USO      0.00 USD      0.00 USO
 Totals for Day 04/25/2016                                                                                0.00 USO        0.00 USO      0.00 USD      0.00 USD
 Totals for User Name EHRENS,DORIS R M                               66                                2,772.00 USD    235.49 USD       0.00 USD   235.49 USO
 (7520131)
   User Name VASUDEVAN.FELICIA S
 (13314712)
   Day 04/21/2016
 Totals for Included                                                 71                                 297.00 USO      25.23 USO      0.00 USD     25.23 USD
 Totals for Day 04/21/2016                                           71                                 297.00 USD      25.23 USO      0.00 USD     25.23 USD
 Totals for User Name VASUDEVAN.FELICIA S                            71                                 297.00 USD      25.23 USD      0.00 USD     25.23 USD
 (13314712)
 Totals for Client LINC04.00035                                     137                                3,069.00 USD    260.72 USO      0.00 USD    260.72 USD
 Totals for Account: 1000333096                                     137                                3,069.00 USO    260.72 USO      0.00 USD    260.72 USO

 Report Totals - Included                                           137                                3,069.00 USD    260.72 USD      0.00 USD    260.72 USO
 Report Totals                                                      137                                3,069.00 USD    260.72 USD      0.00 USD    260.72 USD




https://www.quickview.com/Reports/UsageReportPrintable.aspx                                                                                                       1 /1
4/18/2018                                                                       QuickView+ - Report
 Account:                           MURPHY HESSE TOOMEY & LEHANE LLP, QUINCY MA (1000333096)
 Date Range:                        May 01, 2016- May 31, 2016
 Report Format:                     Summary-Account by Client by User by Day (Targeted)
 Products:                          Westlaw, WestlawNext
 Content Families:                  All Content Families
 Account by Client by User by Day         Database Time   Transactions   Docs/Lines   Connect Time      Standard Special Pricing
                                                                                                                                   Tax Amount   Total Charge
                                                                                                          Charge         Charge



 Account: 1000333096
   Client LINC04.00035
   User Name EHRENS,DORIS R M
 (7520131)
    Day 05/13/2016
 Totals for Included                                                                                   99.00 USD       9.53 USD      0.00 USD      9.53 USD
 Totals for Day 05/13/2016                                                                            99.00 USO        9.53 USD      0.00 USD      9.53 USD
   Day 05/16/2016
 Totals for included                                                                                  99.00 USO        9.53 USD      0.00 USO      9.53 USD
 Totals for Day 05/16/2016                                                                            99.00 USD        9.53 USD      0.00 USD      9.53 USO
 Totals for User Name EHRENS,DORIS RM
                                                                    3                                 198.00 USD      19.07 USD      0.00 USD     19.07 USO
 (7520131)
 Totals for Client LINC04.00035                                     3                                 198.00 USO      19.07 USD      0.00 USO     19.07 USD
 Totals for Account: 1000333096                                     3                                 198.00 USO      19.07 USO      0.00 USO     19.07 USO
 Report Totals - Included                                           3                                 198.00 USO      19.07 USD      0.00 USO     19.07 USD
 Report Totals                                                      3                                 198.00 USO      19.07 USO      0.00 USD     19.07 USO




https://www.quickview.com/Reports/UsageReportPrintable.aspx                                                                                                    1/1
4/18/2018                                                                       QuickView+ - Report

 Account:                           MURPHY HESSE TOOMEY & LEHANE LLP, QUINCY MA (1000333096)
 Date Range:                        June 01, 2016 - June 30, 2016
 Report Format:                     Summary-Account by Client by User by Day (Targeted)
 Products:                          Westlaw, WestlawNext
 Content Families:                  All Content Families
                                          Database Time   Transactions   Docs/Lines   Connect Time      Standard Special Pricing   Tax Amount   Total Charge
 Account by Client by User by Day
                                                                                                          Charge  ·      Charge



 Account: 1000333096
  Client LINC04.00035
   User Name EHRENS,DORIS R M
 (7520131)
   Day 06/30/2016
 Totals for Included                                                 2                                158.00 USD      11.98 USD      0.00 USD     11.98 USD
 Totals for Day 06/30/2016                                           2                                158.00 USD      11.98 USD      0.00 USD     11.98 USD
 Totals for User Name EHRENS,DORIS R M                               2                                158.00 USD      11.98 USD      0.00 USD     11.98 USD
 (7520131)
 Totals for Client LINC04.00035                                      2                                158.00 USD      11.98 USD      0.00 USD     11.98 USD
 Totals for Account: 1000333096                                      2                                158.00 USO      11.98 USD      0.00 USO     11.98 USO
 Report Totals - Included                                            2                                158.00 USO      11.98 USD      0.00 USO     11.98 USO
 Report Totals                                                       2                                158.00 USO      11.98 USO      0.00 USO     11.98 USD




https://www.quickview.com/Reports/UsageReportPrintable.aspx                                                                                                    1 /1
4/18/2018                                                                       QuickView+ - Report

 Account:                           MURPHY HESSE TOOMEY & LEHANE LLP, QUINCY MA (1000333096)
 Date Range:                        November 01, 2016 - November 30, 2016
 Report Format:                     Summary-Account by Client by User by Day (Targeted)
 Products:                          Westlaw, WestlawNext
 Content Families:                  All Content Families
 Account by Client by User by Day         Database Time   Transactions   Docs/Lines   Connect Time     Standard Special Pricing
                                                                                                                                  Tax Amount   Total Charge
                                                                                                         Charge         Charge



 Account: 1000333096
  Client LINC04.00035
   User Name EHRENS,DORIS RM
 (7520131)
   Day 11/28/2016
 Totals for Included                                                                                  99.00 USO      10.46 USO      0.00 USO     10.46 USO
 Totals for Day 11/28/2016                                                                            99.00 USO      10.46 USO      0.00 USO     10.46 USO
 Totals for User Name EHRENS,DORIS R M
                                                                                                      99.00 USO      10.46 USO      0.00 USO     10.46 USO
 (7520131)
 Totals for Client LINC04.00035                                                                       99.00 USO      10.46 USO      0.00 USO     10.46 USO
 Totals for Account: 1000333096                                                                       99.00 USO      10.46 USO      0.00 USO     10.46 USO
 Report Totals - Included                                                                             99.00 USO      10.46 USO      0.00 USO     10.46 USO
 Report Totals                                                                                        99.00 USO      10.46 USO      0.00 USO     10.46 USO




https://www.quickview.com/Reports/UsageReportPrintable.aspx                                                                                                   1/1
4/18/2018                                                                       QuickView+ - Report

 Account:                           MURPHY HESSE TOOMEY & LEHANE LLP, QUINCY MA (1000333096)
 Date Range:                        January 01, 2017 - January 31, 2017
 Report Format:                     Summary-Account by Client by User by Day (Targeted)
 Products:                          Westlaw, WestlawNext
 Content Families:                  All Content Families
 Account by Client by User by Day         Database Time   Transactions   Docs/Lines   Connect Time      Standard Special Pricing   Tax Amount   Total Charge
                                                                                                          Charge         Charge



 Account: 1000333096
  Client LINC04.00035
   User Name EHRENS,DORIS R M
 (7520131)
    Day O 1/09/2017
 Totals for Included                                                 2                                198.00 USO      23.06 USO      0.00 USO     23.06 USO
 Totals for Day 01/09/2017                                           2                                198.00 USO      23.06 USO      0.00 USO     23.06 USO
   Day 01/25/2017
 Totals for Included                                                 2                                 99.00 USO      11.53 USO      0.00 USO     11.53 USO
 Totals for Day 01/25/2017                                           2                                 99.00 USO      11.53 USO      0.00 USO     11.53 USO
 Totals for User Name EHRENS,DORIS RM                                4                                297.00 USO      34.59 USO      0.00 USD     34.59 USO
 (7520131)
 Totals for Client LINC04.00035                                      4                                297.00 USO      34.59 USO      0.00 USO     34.59 USO
 Totals for Account: 1000333096                                      4                                297.00 USO      34.59 USO      0.00 USO     34.59 USO
 Report Totals - Included                                           4                                 297.00 USO      34.59 USO      0.00 USO     34.59 USO
 Report Totals                                                      4                                 297.00 USO      34.59 USO      0.00 USO     34.59 USO




https://www.quickview.com/Reports/UsageReportPrintable.aspx                                                                                                    1/1
4/18/2018                                                                       QuickView+ - Report

 Account:                           MURPHY HESSE TOOMEY & LEHANE LLP, QUINCY MA (1000333096)
 Date Range:                        April 01, 2017 - April 17, 2018
 Report Format:                     Detail-Account by Client by User by Day (Targeted)
 Products:                          Westlaw, WestlawNext
 Content Families:                  All Content Families
                                                                                                         Standard Special Pricing   Tax Amount   Total Charge
 Account by Client by User by Day           Database Time   Transactions   Docsflines   Connect Time
                                                                                                           Charge         Charge

 ---------------                          ------ ------ ------ ----- ----- ----- ----- -----
 Account: 1000333096
  Client LINC04.00035
  User Name EHRENS,DORIS R M (7520131)
   Day 04/19/2017
   Included
     MULTI-SEARCH DOCUMENT DISPLAYS                                    9                                69.00 USO       6.18 USO      0.00 USO      6.18 USO
      MULTI-SEARCH TRANSACTIONAL                                       5                               396.00 USO      35.47 USO      0.00 USO     35.47 USO
 SEARCHES
 Totals for Included                                                  14                               465.00 USO      41.66 USO      0.00 USO     41.66 USO
 Totals for Day 04/19/2017                                            14                               465.00 USO      41.66 USO      0.00 USO     41.66 USO
   Day 05/10/2017
   Included
     MULTI-SEARCH DOCUMENT DISPLAYS                                                                      0.00 USO       0.00 USO      0.00 USO      0.00 USO
      MULTI-SEARCH TRANSACTIONAL                                                                        99.00 USO       8.87 USO      0.00 USO      8.87 USO
 SEARCHES
 Totals for Included                                                   2                                99.00 USO       8.87 USO      0.00 USO      8.87 USO
 Totals for Day 05/10/2017                                             2                                99.00 USO       8.87 USO      0.00 USO      8.87 USO
   Day 05/16/2017
   Included
     MULTI-SEARCH TRANSACTIONAL                                                                         99.00 USO       8.87 USO      0.00 USO      8.87 USO
 SEARCHES
     MULTI-SEARCH DOCKETS DETAIL                                                                        25.00 USO       2.24 USO      0.00 USO      2.24 USO
 Totals for Included                                                                                   124.00 USO      11.11 USO      0.00 USO     11.11 USO
 Totals for Day 05/16/2017                                                                             124.00 USO      11.11 USO      0.00 USO     11.11 USO
   Day 05/29/2017
   Included
     MULTI-SEARCH DOCUMENT DISPLAYS                                                                      0.00 USO       0.00 USO      0.00 USO      0.00 USO
      MULTI-SEARCH TRANSACTIONAL                                       5                               495.00 USO      44.34 USO      0.00 USO     44.34 USO
 SEARCHES
 Totals for Included                                                   6                               495.00 USO      44.34 USO      0.00 USO     44.34 USO
                                                                       6                               495.00 USO      44.34 USO      0.00 USO     44.34 USO
 Totals for Day 05/29/2017
   Day 06/08/2017
   Included
     MULTI-SEARCH TRANSACTIONAL                                                                         99.00 USO       8.87 USO      0.00 USO      8.87 USO
 SEARCHES
                                                                                                        99.00 USO       8.87 USO      0.00 USO      8.87 USO
 Totals for Included
 Totals for Day 06/08/2017                                                                              99.00 USO       8.87 USO      0.00 USO      8.87 USO
   Day 06/16/2017
   Included
     MULTI-SEARCH KEYCITE                                                                                0.00 USO       0.00 USO      0.00 USO      0.00 USO
     MULTI-SEARCH DOCUMENT DISPLAYS                                    4                                 0.00 USO       0.00 USO      0.00 USO      0.00 USO
    MULTI-SEARCH TRANSACTIONAL                                         9                               891.00 USO      79.82 USO      0.00 USO     79.82 USO
 SEARCHES
                                                                      14                               891.00 USO      79.82 USO      0.00 USO     79.82 USO
 Totals for Included
 Totals for Day 06/16/2017                                            14                               891.00 USO      79.82 USO      0.00 USO     79.82 USO
   Day 06/17/2017
   Included
     MULTI-SEARCH KEYCITE                                              1                                 0.00 USO       0.00 USO      0.00 USO      0.00 USO
     MULTI-SEARCH DOCUMENT DISPLAYS                                   16                                 0.00 USO       0.00 USO      0.00 USO      0.00 USO
 Totals for Included                                                  17                                 0.00 USO       0.00 USO      0.00 USO      0.00 USO
 Totals for Day 06/17/2017                                            17                                 0.00 USO       0.00 USO      0.00 USO      0.00 USO
   Day 06/19/2017
   Included
     MULTI-SEARCH DOCUMENT DISPLAYS                                    5                                 0.00 USO       0.00 USO      0.00 USO      0.00 USO
    MULTI-SEARCH TRANSACTIONAL                                         5                               396.00 USO      35.47 USO      0.00 USO     35.47 USO
 SEARCHES
 Totals for Included                                                  10                               396.00 USO      35.47 USO      0.00 USO     35.47 USO
 Totals for Day 06/19/2017                                            10                               396.00 USO      35.47 USO      0.00 USO     35.47 USO
   Day 06/20/2017
   Included
     MULTI-SEARCH DOCUMENT DISPLAYS                                                                      0.00 USO       0.00 USO      0.00 USO      0.00 USO
 Totals for Included                                                                                     0.00 USO       0.00 USO      0.00 USO      0.00 USO
 Totals for Day 06/20/2017                                                                               0.00 USO       0.00 USO      0.00 USO      0.00 USO
   Day 06/22/2017
   Included
     MULTI-SEARCH DOCUMENT DISPLAYS                                                                      0.00 USO       0.00 USO      0.00 USO      0.00 USO
 Totals for Included                                                                                     0.00 USO       0.00 USO      0.00 USO      0.00 USO
                                                                                                         0.00 USO       0.00 USO      0.00 USO      0.00 USO
 Totals for Day 06/22/2017
   Day 06/26/2017
   Included
     MULTI-SEARCH DOCUMENT DISPLAYS                                                                      0.00 USO       0.00 USO      0.00 USO      0.00 USO
     MULTI-SEARCH TRANSACTIONAL                                                                        198.00 USO      17.74 USO      0.00 USO     17.74 USO
 SEARCHES


https://www.quickview.com/Reports/UsageReportPrintable.aspx                                                                                                     1/3
4/18/2018                                                           QuickView+ - Report
                                                              11                           198.00 USD    17.74 USO    0.00 USD   17.74 USD
 Totals for Included
                                                              11                           198.00 USD    17.74 USO    0.00 USD   17.74 USD
 Totals for Day 06/26/2017
   Day 06/27/2017
   Included
     MULTI-SEARCH DOCUMENT DISPLAYS                            2                             0.00 USD     0.00 USD    0.00 USD    0.00 USD
     MULTI-SEARCH TRANSACTIONAL                                2                           198.00 USD     17.74 USD   0.00 USD   17.74 USO
 SEARCHES
                                                               4                           198.00 USD     17.74 USD   0.00 USD   17.74 USD
 Totals for Included
                                                               4                           198.00 USD     17.74 USD   0.00 USD   17.74 USD
 Totals for Day 06/27/2017
   Day 07/01/2017
   Included
     MULTI-SEARCH DOCUMENT DISPLAYS                            7                             0.00 USD      0.00 USD   0.00 USD    0.00 USD

    MULTI-SEARCH TRANSACTIONAL                                 6                           594.00 USD    53.21 USD    0.00 USD   53.21 USD
 SEARCHES
                                                              13                           594.00 USD    53.21 USD    0.00 USD   53.21 USD
 Totals for Included
                                                              13                           594.00 USD    53.21 USD    0.00 USD   53.21 USO
 Totals for Day 07/01/2017
   Day 07/02/2017
   Included
     MULTI-SEARCH DOCUMENT DISPLAYS                                                          0.00 USD      0.00 USD   0.00 USD    0.00 USD

     MULTI-SEARCH TRANSACTIONAL                                3                           198.00 USD     17.74 USO   0.00 USD   17.74 USD
 SEARCHES
                                                               4                           198.00 USD     17.74 USO   0.00 USD   17.74 USD
 Totals for Included
                                                               4                           198.00 USD     17.74 USO   0.00 USD   17.74 USD
 Totals for Day 07/02/2017
   Day 07/03/2017
   Included
     MULTI-SEARCH DOCUMENT DISPLAYS                                                          0.00 USD      0.00 USD   0.00 USD    0.00 USO
                                                                                             0.00 USD      0.00 USD   0.00 USD    0.00 USD
 Totals for Included
                                                                                             0.00 USD      0.00 USD   0.00 USD    0.00 USO
 Totals for Day 07/03/2017
   Day 07/04/2017
   Included
     MULTI-SEARCH DOCUMENT DISPLAYS                            2                             0.00 USO      0.00 USO   0.00 USD    0.00 USO
                                                               2                             0.00 USO      0.00 USO   0.00 USO     0.00 USO
 Totals for Included
                                                               2                             0.00 USO      0.00 USO   0.00 USD     0.00 USO
 Totals for Day 07/04/2017
   Day 0710512017
   Included
     MULTI-SEARCH DOCUMENT DISPLAYS                            3                             0.00 USO      0.00 USO   0.00 USO     0.00 USO

     MULTI-SEARCH TRANSACTIONAL                                                             99.00 USO      8.87 USO   0.00 USO     8.87 USO
 SEARCHES
                                                               4                            99.00 USD      8.87 USO   0.00 USO     8.87 USD
 Totals for Included
 Totals for Day 07/05/2017                                     4                            99.00 USO      8.87 USO   0.00 USO     8.87 USO

   Day 07/14/2017
   Included
     MULTI-SEARCH DOCUMENT DISPLAYS                            4                             0.00 USO      0.00 USD   0.00 USO     0.00 USD

    MULTI-SEARCH TRANSACTIONAL                                                              99.00 USO      8.87 USO   0.00 USO     8.87 USO
 SEARCHES
                                                                5                           99.00 USO      8.87 USO   0.00 USO     8.87 USO
 Totals for Included
                                                               5                            99.00 USD      8.87 USD   0.00 USO     8.87 USO
 Totals for Day 07/14/2017
   Day 07/31/2017
   Included
     MULTI-SEARCH DOCUMENT DISPLAYS                             2                            0.00 USO      0.00 USO   0.00 USO     0.00 USO
     MULTI-SEARCH TRANSACTIONAL                                                             99.00 USO      8.87 USD   0.00 USO     8.87 USO
 SEARCHES
                                                                3                           99.00 USO      8.87 USD   0.00 USO     8.87 USO
 Totals for Included
                                                                3                           99.00 USO      8.87 USO   0.00 USO     8.87 USO
 Totals for Day 07/31/2017
 Totals for User Name EHRENS,DORIS R M                        118                         4,054.00 USO   363.17 USO   0.00 USO   363.17 USO
 (7520131)
   User Name VASUDEVAN.FELICIA S
 (13314712)
    Day 06/19/2017
    Included
      MULTI-SEARCH DOCUMENT DISPLAYS                            5                            0.00 USO      0.00 USO   0.00 USO     0.00 USO
                                                                5                            0.00 USO      0.00 USO   0.00 USO     0.00 USO
 Totals for Included
                                                                5                            0.00 USO      0.00 USO   0.00 USO     0.00 USO
 Totals for Day 06/19/2017
   Day 03/23/2018
    Included
      MULTI-SEARCH DOCUMENT DISPLAYS                            2                            0.00 USO      0.00 USO   0.00 USO     0.00 USO

      MULTI-SEARCH TRANSACTIONAL                                                           119.00 USO     10.66 USO   0.00 USD    10.66 USO
 SEARCHES
                                                                3                          119.00 USO     10.66 USO   0.00 USO    10.66 USO
 Totals for Included
                                                                3                          119.00 USO     10.66 USO   0.00 USO    10.66 USO
 Totals for Day 03/23/2018
   Day 03/24/2018
   Included
      MULTI-SEARCH DOCUMENT DISPLAYS                            7                            0.00 USD      0.00 USO   0.00 USO     0.00 USO
      MULTI-SEARCH TRANSACTIONAL                                                           119.00 USO     10.66 USO   0.00 USO    10.66 USO
 SEARCHES
                                                                8                          119.00 USD     10.66 USO   0.00 USO    10.66 USO
 Totals for Included
                                                                8                          119.00 USD     10.66 USO   0.00 USO    10.66 USO
 Totals for Day 03/24/2018
    Day 03/25/2018
    Included
      MULTI-SEARCH DOCUMENT DISPLAYS                           15                            0.00 USD      0.00 USO   0.00 USO     0.00 USO

      MULTI-SEARCH TRANSACTIONAL                                                           119.00 USD     10.66 USO   0.00 USO    10.66 USO
 SEARCHES
                                                               16                          119.00 USD     10.66 USO   0.00 USO    10.66 USO
 Totals for Included
                                                               16                          119.00 USD     10.66 USO   0.00 USO    10.66 USO
 Totals for Day 03/25/2018

https://www.quickview.com/Reports/UsageReportPrintable.aspx                                                                                   2/3
4/18/2018                                                           QuickView+ - Report
   Day 03/27/2018
   Included
     MULTI-SEARCH DOCUMENT DISPLAYS                             4                            0.00 USO      0.00 USO   0.00 USO     0.00 USD
                                                                4                            0.00 USO      0.00 USD   0.00 USD     0.00 USO
Totals for Included
Totals for Day 03/27/2018                                       4                            0.00 USO      0.00 USO   0.00 USO     0.00 USO
  Day 04/14/2018
   Included
     MULTI-SEARCH DOCUMENT DISPLAYS                            10                            0.00 USO      0.00 USO   0.00 USD     0.00 USO
    MULTI-SEARCH TRANSACTIONAL                                                             119.00 USO     10.66 USO   0.00 USD    10.66 USO
 SEARCHES
                                                               11                          119.00 USO     10.66 USO   0.00 USO    10.66 USO
Totals for Included
                                                               11                          119.00 USO     10.66 USO   0.00 USO    10.66 USO
Totals for Day 04/14/2018
  Day 04/15/2018
  Included
     MULTI-SEARCH DOCUMENT DISPLAYS                            54                            0.00 USO      0.00 USO   0.00 USO     0.00 USO
     MULTI-SEARCH TRANSACTIONAL                                 5                          595.00 USO     53.30 USO   0.00 USO    53.30 USO
SEARCHES
Totals for Included                                            59                          595.00 USO     53.30 USD   0.00 USO    53.30 USO
                                                               59                          595.00 USO     53.30 USO   0.00 USO    53.30 USO
Totals for Day 04/15/2018
  Day 04/16/2018
   Included
     MULTI-SEARCH DOCUMENT DISPLAYS                                                          0.00 USO      0.00 USO   0.00 USD     0.00 USO
     MULTI-SEARCH TRANSACTIONAL                                 2                          238.00 USO     21.32 USO   0.00 USD    21.32 USO
 SEARCHES
                                                                3                          238.00 USO     21.32 USO   0.00 USO    21.32 USO
Totals for Included
Totals for Day 04/16/2018                                       3                          238.00 USO     21.32 USO   0.00 USO    21.32 USO

Totals for User Name VASUDEVAN.FELICIA S                      109                         1,309.00 USD   117.26 USO   0.00 USO   117.26 USO
(13314712)
 Totals for Client LINC04.00035                               227                         5,363.00 USO   480.44 USO   0.00 USO   480.44 USO
 Totals for Account: 1000333096                               227                         5,363.00 USO   480.44 USO   0.00 USO   480.44 USO

                                                              227                         5,363.00 USO   480.44 USO   0.00 USD   480.44 USD
 Report Totals - Included
 Report Totals                                                227                         5,363.00 USO   480.44 USO   0.00 USO   480.44 USD




https://www.quickview.com/Reports/UsageReportPrintable.aspx                                                                                   3/3
